Case 1:19-cv-03312-CKK. Document 1-3 Filed 11/04/19 Page 1 of 11

Exhibit 2

“Citizenship of Russia” From Wikipedia
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 2 of 11

Citizenship of Russia
From Wikipedia

Citizenship of Russia is regulated by the federal act regarding citizenship of the
Russian Federation (of 2002, with the amendments of 2003, 2004, 2006),
Constitution of the Russian Federation (of 1993), and the international treaties that
cover citizenship questions to which the Russian Federation is a party. In
accordance with the supremacy clause of the Constitution, international treaties of
the Russian Federation have precedence over Russian domestic law.

CONTENTS

« 1Terminology
« 2History
o 2.1Post-Soviet Union
o 2.2Citizenship act of 1991
o 2.3Compatriots act of 1999
e 3Citizenship act of 2002
e 4Visa requirements
e 5Constitutional Court cases
o 5.1Case of Smirnov (1996)
« 5.1.1Criticism of the Decision
o 5.2Case of Daminova (2005)
o 5.3Case of Fatullaeva (2007)
e 6International treaties on citizenship
o 6.1Eurasian Economic Community treaties
o 6.2Dual nationality and citizenship treaties
o 6.3European Convention on Nationality
7References
8External links

TERMINOLOGY

In the Russian language, there is a distinction!" "¢e4e4l between citizens of
Russia, referred to as Rossiyane (plural, Russian: poccusHe; masc. singular
poccusHuH Rossiyanin and fem. singular poccnanka Rossivanka), and ethnic
Russians, referred to as Russkie (pyccxue). The word Rossiyane is used much more
often than Russkie in media and official documents. Those who have received
Russian citizenship via naturalisation are also called Rossiyane, regardless of
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 3 of 11

ethnicity and mother tongue (for example, Gérard Depardieu or Viktor Ahn). The
word Rossiyane was coined by Mikhail Lomonosov in the 18th century!*#ation needed]

HISTORY

The Tsardom of Russia became a multinational state in the 16th century. The word
Rossiyane, coined by Lomonosov, has been widely used since then. After the fall
of the Russian Empire, the expression "Soviet people" was used for the population
of the Soviet Union, regardless of ethnicity. After the dissolution of the USSR, the
word Rossiyane became widely used again.

POST-SOVIET UNION

Until 1990, the Russian Soviet Federated Socialist Republic (RSFSR) was a
subject of the Soviet federation. In 1990, state sovereignty of the RSFSR was
declared, though the USSR was not abolished until the end of 1991. Article 11 of
the declaration of state sovereignty introduced RSFSR citizenship. The text of the
citizenship act was ready in the summer of 1991, but was not adopted by the
Supreme Council (the legislative body of the RSFSR) until November 28, 1991.
On January 23, 1992 some changes with respect to the dissolution of the USSR
were applied to the text; the result was signed by the President and finally came
into force after publication on February 6, 1992.

CITIZENSHIP ACT OF 1991

In accordance with Article 13, former Soviet citizens among permanent residents
on February 6, 1992 of the RSFSR were recognized as RSFSR citizens. Those who
expressed their will not to become RSFSR citizens until February 6, 1993 were not
recognized as RSFSR citizens. Supreme Council decree N 5206/1-1 recognized the
following as Russian citizens:

e those who left the RSFSR before February 6, 1992 for study, work,
treatment, or personal reasons and returned after February 6, 1992
« military personnel of RSFSR abroad

Former Soviet citizens who were born on December 30, 1922 or later on Russian
territory or to a Soviet citizen who was a permanent resident of the RSFSR at the
birth of his or her were recognized as if they had been RSFSR citizens by birth (see
Case of Smirnov).
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 4 of 11

Russian citizenship could be acquired:

« by registration

« by naturalization -

« by restoration of citizenship

e by opt

« by following parents' citizenship

COMPATRIOTS ACT OF 1999

In 1999, in spite of the veto of the President, the Federal Assembly adopted the Act
on the state policy on compatriots abroad.”! Article 11 stated that all former Soviet
citizens and their descendants should be recognized as Russian citizens unless they
had declared their intentions to be citizens of foreign states. However, this article
was revoked in 2002 and persons under this article are not generally recognized by
executive or court authorities of Russia as citizens of the Russian Federation unless
they received documents of Russian citizenship before the article's revocation. No
official comments have been given as to how this article should be interpreted.
Oleg Kutafin, the chairman of the Presidential Committee on citizenship, criticized
this Act in his book Russian Citizenship ( ISBN 5-7975-0624-6), but the legal
consequences of this Acf were not analyzed there.

CITIZENSHIP ACT OF 2002

In 2002, a new citizenship act, supported by President Vladimir Putin, replaced the
act of 1991.

Russian citizenship could be acquired:

by birth

by naturalization

by restoration of citizenship

by following parents’ citizenship

The rules of citizenship by birth generally follow the principle of jus sanguinis,
though a child can be recognized as a Russian citizen in several special cases:

e neither parent, both of whom are permanent residents of Russia, is a Russian
citizen, but the child is born in Russia and does not acquire any other
citizenship
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 5 of 11

e the child is found abandoned on Russian territory and the parents remain
unknown for more than six months

Naturalization is usually granted if the applicant meets the following requirements:

e has been a resident of Russia for not less than five years
promises lawful behaviour

has a legal source of income

speaks Russian

In certain cases, some or even all of the above requirements can be waived by an
Executive Order of the Russian President,!>! as happened on 3 January 2013, when
Russian President Vladimir Putin signed an Executive Order granting Russian
citizenship to French-born actor Gérard Depardieu, citing authority granted under
Article 89(a) of the Constitution of the Russian Federation.) Il¢

Restoration of citizenship is granted under the same rules as naturalization; the
only exception is the residence term requirement (three years in this case).
Although not in compliance with law, executive agencies (such as the federal
migration service and Russian diplomatic and consular departments abroad)
usually do not grant Russian citizenship to former Russian citizens if they do not
satisfy citizenship restoration requirements, even if they satisfy requirements for
facilitated naturalization!eaio needed

A special provision of law made it possible for former citizens of the USSR to
apply for Russian citizenship before 2009. The only requirements were holding a
temporary residence permit or a permanent residence permit, or being registered as
a permanent resident of Russia as of July 1, 2002 and meeting the naturalization
requirements of p. 2 and p. 4.

Citizenship of children (persons under 18 years of age) generally follows the
citizenship of their parents. If one or both parents obtain Russian citizenship,
their children become Russian citizens as well. If one or both parents lose
Russian citizenship, their children lose it too. A child can acquire or
relinquish Russian citizenship by the application of his parents, but at least
one parent must be a Russian citizen in this case.
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 6 of 11

Countries and territories with visa-free or visa-on-arrival entries for holders of
regular Russian passports

fl Russia Visa on arrival | Visa available both on
. ._ arrival or online

Visa free with | Electronic authorization or online

Internal passport payment required || Visa required prior to

arrival

isa not required
VISA REQUIREMENTS

Main article: Visa requirements for Russian citizens

Visa requirements for Russian citizens are administrative entry restrictions by the
authorities of other countries placed on citizens of Russia. In 2016, Russian
citizens had visa-free or visa-on-arrival access to 105 countries and territories,
ranking the Russian passport 48th in the world according to the Visa Restrictions
Index.

CONSTITUTIONAL COURT CASES
CASE OF SMIRNOV

SMIRNOV WAS BORN ON RSFSR TERRITORY IN 1950. IN
1979, HE MARRIED AND MOVED HIS PERMANENT RESIDENCE
TO THE LITHUANIAN SSR. HE DIVORCED IN 1992 AND
RETURNED TO THE RSFSR ON DECEMBER 8, 1992. HE THEN
APPLIED FOR A NOTICE OF RUSSIAN CITIZENSHIP IN HIS
PASSPORT, BUT THIS WAS REJECTED BY EXECUTIVE
OFFICERS. HIS CLAIM WAS ALSO REJECTED BY COMMON
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 7 of 11

JURISDICTION COURTS, INCLUDING THE SUPREME COURT
OF THE RUSSIAN FEDERATION.

The position of the executive officers and the courts was that Smirnov, in
accordance with Article 13 of the Citizenship Act, was a former citizen of the
Russian Federation, but not a citizen of the Russian Federation since February 6,
1992. He did have the option to apply for Russian citizenship through registration.

However, the Constitutional Court ruled that Article 18 of the Citizenship Act
was not in conformance with the Constitution, as the registration procedure of
Article 18 could be applied to Russian citizens by birth; that is, those persons
who:

e were born in the territory of the RSFSR

* were citizens of the USSR

¢ did not renounce Russian citizenship

e relocated to another Soviet republic

e were not citizens of another Soviet republic
e eventually returned to Russia

There is an opinion that this ruling determines that every former citizen of the
USSR who was born in the territory of the RSFSR and never renounced
Russian citizenship is a Russian citizen by birth, even if he also has foreign
citizenship. This opinion is based on the Court's interpretation of Article 6 of
the Constitution given in the text of the decision: "such persons... cannot lose
Russian citizenship unless they explicitly expressed their will to give it up". A
notable advocate of this position is Anatoly Mostovoy, who published the book
Get Your Citizenship Back! (ISBN 5-93165-077-6).

CRITICISM OF THE DECISION
1) incorrect interpretation of Article 13 of the Citizenship Act of 1991

The interpretation of Article 13 of the Act given by the Constitutional Court
does not conform to Article 12 of the Act, which states that citizenship
before this Act came in force is determined by previous legislation. It is also
not clear what legal consequences might be implied by declaring millions of
people as Russian citizens for tens of years before the Act came in force, and
even before the sovereignty of the RSFSR was declared.
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 8 of 11

A different interpretation of Article 13 could be that "citizenship by birth in
the past" defines a term which is used by Article 18, p. "e" and art. 19, p. 3,
pp. "e" (since amended in 1993).

2) incorrect interpretation of constitutional articles

Nothing in the Act states that "citizenship by birth in the past" confers
Russian citizenship on the moment that the Act came into force. The
Constitutional Court stated that "due to Article 6 of the Constitution of the
Russian Federation, they remain Russian citizens until they relinquish it of
their own will" (p. 3 of the reasoning). However, the Constitution came into
force in December 1993, and it evidently has no retroactive effect.
Deprivation of citizenship in the USSR was legal and happened from time to
time. No provisions of law restricted constructions like "a citizen only on
his/her moment of birth".

3) there were no constitutional issues in this case

Following the logic of Constitutional Court, Articles 13 and 18 of the Act
conflict. The Constitutional Court should have stated why it applied Article
13 in this case. In general, considering conflicting legal norms, a court
should choose one of them (using principles of lex posterior or lex specialis,
or a conflict norm). If one of these is chosen, it is not necessary to decide if
the other is constitutional or not. The Constitutional Court has no
jurisdiction to declare a norm of law unconstitutional just because it does not
conform to another norm of law.

CASE OF DAMINOVA (2005)

:@. This section needs expansion. You can help by adding to it. (May 2017)

ae

CASE OF FATULLAEVA (2007)

Until 2001-2002, former Soviet citizens could register their permanent residence
on the territory of Russia in the same way as Russian citizens.

The federal act regarding Russian citizenship (2002) was amended several times to
allow former Soviet citizens who had had their permanent residence registered on
July 1, 2002 to apply for Russian citizenship.
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 9 of 11

Fatullaeva had been living in Russia up to this date but had never registered
permanent residence.

She challenged the requirement of permanent residence registration at the
Constitutional Court. The Court rejected her claim for the following reasons:

e such a requirement does not violate her constitutional rights and freedoms

e the state is not obliged to grant citizenship, except as provided by its laws,
and Fatullaeva still would be able to obtain Russian citizenship after every
requirement of law is satisfied

The Act on the Legal Status of Foreigners in the USSR (1981) was in force until
2002. According to this act, permanent residents of the USSR were persons who
received permanent residence permits. Other foreigners were those with temporary
residences in the USSR. However, former Soviet citizens did not apply for
residence permits; they registered their permanent residence in the same manner as
Russian citizens, in accordance with the Decree of Government N 290 of March
12, 1997. Therefore, registration of permanent residence was equivalent to
obtaining residence permits in Russia.

INTERNATIONAL TREATIES ON CITIZENSHIP
EURASIAN ECONOMIC COMMUNITY TREATIES

The Russian Federation has a treaty with Kazakhstan and a treaty with Kyrgyzstan.
There is also a multilateral treaty among the Russian Federation, Kazakhstan,
Kyrgyzstan and the Republic of Belarus.

Citizens of the respective states that come to Russia for permanent residence have
the right to obtain Russian citizenship if they:

° were citizens of the RSFSR, or

¢ were born in the territory of the RSFSR, or

¢ were living in the territory of the RSFSR before December 21, 1991, or

e have relatives who are citizens or permanent residents of the Russian
Federation

Until the end of 2003, those treaties were ignored by Russian executive
authorities."°! Presidential Decree N 1545! provided some means for
implementation of the treaties. However, the decree requires that the applicant
provide evidence that the state of his citizenship allows him to reside in Russia
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 10 of 11

(such as a special stamp in a passport or an exit document). This does not conform
to the treaties and makes obtaining citizenship significantly more difficult or even
impossible in some cases. The Supreme Court of the Russian Federation stated in
its decision!!! that one must prove, in accordance with the treaties, that he came to
Russia for permanent and not temporary residence. This can be proved in
accordance with Russian law. In accordance with the Act on the Status of Foreign
Citizens in the Russian Federation, obtaining temporary or permanent residence
permission in Russia does not require any permission from foreign states, so
technically every person who lawfully resides in Russia is able to apply for a
temporary residence permit and then for a permanent residence permit. Although
the interpretation of the Federal Act given by the Supreme Court is incompatible
with the Presidential Decree, the article was not declared void.

DUAL NATIONALITY AND CITIZENSHIP TREATIES[EDIT]

Restricted dual nationality is permitted in Russia with treaty countries.
However, Russian authorities will only recognise Russian nationality under
the law, exceptions provided to those who hold nationality of one of those
countries in which a treaty is in force which deals with the issue.

The following international treaties contain rules related to dual citizenship:

« Treaty between the Russian Federation and the Republic of Tajikistan
(1995)

« Treaty between the Russian Federation and the Republic of Turkmenistan
(1993), the current status of which is in dispute

The Treaty of Friendship, Cooperation, and Mutual Security between the Russian
Federation and the Republic of Armenia, signed December 29, 1991, grants the
right to acquire citizenship of both Russia and Armenia to the citizens of Russia
and Armenia.

As the Russian Federation is the successor state to the Soviet Union, some Soviet
treaties on dual citizenship are still in force. For this reason, the Convention on the
Nationality of Married Women is in force.

EUROPEAN CONVENTION ON NATIONALITY[EDIT]

The European Convention on Nationality has been signed but not ratified by the
Russian Federation. It is ‘binding to the extent of the provisions of the Vienna
Case 1:19-cv-03312-CKK Document 1-3 Filed 11/04/19 Page 11 of 11

Convention on the Law of Treaties. Domestic citizenship legislation is usually
considered to conform to the convention.

10
